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        COVID-19


     Emerging SARS-CoV-2 Variants
     Updated Jan. 28, 2021                     Print




     Multiple SARS-CoV-2 variants are circulating globally. Several new variants emerged in the fall of                            Previous update:
     2020, most notably:                                                                                                           Dec. 29, 2020


         ●




             US COVID-19 Cases Caused by Variants
             View a map showing the number of con rmed cases in each state.



             In the United Kingdom (UK), a new variant of SARS-CoV-2 (known as 20I/501Y.V1, VOC 202012/01, or B.1.1.7) emerged
             with a large number of mutations. This variant has since been detected in numerous countries around the world,
             including the United States (US). In January 2021, scientists from UK reported evidence[1] that suggests the B.1.1.7 variant
             may be associated with an increased risk of death compared with other variants. More studies are needed to con rm
             this nding. This variant was reported in the US at the end of December 2020.
         ●   In South Africa, another variant of SARS-CoV-2 (known as 20H/501Y.V2 or B.1.351) emerged independently of B.1.1.7.
             This variant shares some mutations with B.1.1.7. Cases attributed to this variant have been detected in multiple
             countries outside of South Africa. This variant was reported in the US at the end of January 2021.
         ●   In Brazil, a variant of SARS-CoV-2 (known as P.1) emerged that was rst was identi ed in four travelers from Brazil, who
             were tested during routine screening at Haneda airport outside Tokyo, Japan. This variant has 17 unique mutations,
https://www.cdc.gov/coronavirus/2019-ncov/more/science-and-research/scientific-brief-emerging-variants.html                                           1/4
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                                          g                             g                        p            y ,J p              q      ,

             including three in the receptor binding domain of the spike protein. This variant was detected in the US at the end of
             January 2021.

     Scientists are working to learn more about these variants to better understand how easily they might be transmitted and the
     e ectiveness of currently authorized vaccines against them. New information about the virologic, epidemiologic, and clinical
     characteristics of these variants is rapidly emerging.

     CDC, in collaboration with other public health agencies, is monitoring the situation closely. CDC is working to detect and
     characterize emerging viral variants. Furthermore, CDC has sta available to provide technical support to investigate the
     epidemiologic and clinical characteristics of SARS-CoV-2 variant infections. CDC will communicate new information as it
     becomes available.




     Emerging Variants
     B.1.1.7 lineage (a.k.a. 20I/501Y.V1 Variant of Concern (VOC) 202012/01)

         ●   This variant has a mutation in the receptor binding domain (RBD) of the spike protein at position 501, where the amino
             acid asparagine (N) has been replaced with tyrosine (Y). The shorthand for this mutation is N501Y. This variant also has
             several other mutations, including:
                 -    69/70 deletion: occurred spontaneously many times and likely leads to a conformational change in the spike
                      protein

                 -    P681H: near the S1/S2 furin cleavage site, a site with high variability in coronaviruses. This mutation has also
                      emerged spontaneously multiple times.
         ●   This variant is estimated to have rst emerged in the UK during September 2020.
         ●   Since December 20, 2020, several countries have reported cases of the B.1.1.7 lineage, including the United States.
         ●   This variant is associated with increased transmissibility (i.e., more e cient and rapid transmission).
         ●   In January 2021, scientists from UK reported evidence[1] that suggests the B.1.1.7 variant may be associated with an
             increased risk of death compared with other variants.
         ●   Early reports found no evidence to suggest that the variant has any impact on the severity of disease or vaccine e cacy.
             [2],[3],[4]




     B.1.351 lineage (a.k.a. 20H/501Y.V2)

         ●   This variant has multiple mutations in the spike protein, including K417N, E484K, N501Y. Unlike the B.1.1.7 lineage
             detected in the UK, this variant does not contain the deletion at 69/70.
         ●   This variant was rst identi ed in Nelson Mandela Bay, South Africa, in samples dating back to the beginning of October
             2020, and cases have since been detected outside of South Africa, including the United States
         ●   The variant also was identi ed in Zambia in late December 2020, at which time it appeared to be the predominant
             variant in the country.
         ●   Currently there is no evidence to suggest that this variant has any impact on disease severity.
         ●   There is some evidence to indicate that one of the spike protein mutations, E484K, may a ect neutralization by some
             polyclonal and monoclonal antibodies.[4],[5]

     P.1 lineage (a.k.a. 20J/501Y.V3)

         ●   The P.1 variant is a branch o the B.1.1.28 lineage that was rst reported by the National Institute of Infectious Diseases
             (NIID) in Japan in four travelers from Brazil, sampled during routine screening at Haneda airport outside Tokyo.
         ●   The P.1 lineage contains three mutations in the spike protein receptor binding domain: K417T, E484K, and N501Y.
         ●   There is evidence to suggest that some of the mutations in the P.1 variant may a ect its transmissibility and antigenic
             pro le, which may a ect the ability of antibodies generated through a previous natural infection or through vaccination
             to recognize and neutralize the virus.
                 -    A recent study reported on a cluster of cases in Manaus, the largest city in the Amazon region, in which the P.1
                      variant was identi ed in 42% of the specimens sequenced from late December.[5] In this region, it is estimated that
                      approximately 75% of the population had been infected with SARS-CoV2 as of October 2020 However since mid-
https://www.cdc.gov/coronavirus/2019-ncov/more/science-and-research/scientific-brief-emerging-variants.html                                  2/4
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                      approximately 75% of the population had been infected with SARS CoV2 as of October 2020. However, since mid
                      December the region has observed a surge in cases. The emergence of this variant raises concerns of a potential
                      increase in transmissibility or propensity for SARS-CoV-2 re-infection of individuals.
           ●   This variant was identi ed in the United States at the end of January 2021.




     Why Strain Surveillance is Important for Public Health
     CDC has been conducting SARS-CoV-2 strain surveillance to build a collection of SARS-CoV-2 specimens and sequences to
     support public health response. Routine analysis of the available genetic sequence data will enable CDC and its public health
     partners to identify variant viruses for further characterization.


     Viruses generally acquire mutations over time, giving rise to new variants. For instance, another variant recently emerged in
     Nigeria.[1] CDC also is monitoring this strain but, at this time, it has shown no concerning characteristics to public health
     experts.

     Some of the potential consequences of emerging variants are the following:

           ●   Ability to spread more quickly in people. There is already evidence that one mutation, D614G, confers increased ability to
               spread more quickly than the wild-type[2] SARS-CoV-2. In the laboratory, 614G variants propagate more quickly in human
               respiratory epithelial cells, outcompeting 614D viruses. There also is epidemiologic evidence that the 614G variant
               spreads more quickly than viruses without the mutation.
           ●   Ability to cause either milder or more severe disease in people. In January 2021, experts in the UK reported that B.1.1.7
               variant may be associated with an increased risk of death compared to other variants. More studies are needed to
               con rm this nding.
           ●   Ability to evade detection by speci c viral diagnostic tests. Most commercial reverse-transcription polymerase chain
               reaction (RT-PCR)-based tests have multiple targets to detect the virus, such that even if a mutation impacts one of the
               targets, the other RT-PCR targets will still work.
           ●   Decreased susceptibility to therapeutic agents such as monoclonal antibodies.
           ●   Ability to evade natural or vaccine-induced immunity. Both vaccination against and natural infection with SARS-CoV-2
               produce a “polyclonal” response that targets several parts of the spike protein. The virus would likely need to accumulate
               multiple mutations in the spike protein to evade immunity induced by vaccines or by natural infection.

     Among these possibilities, the last—the ability to evade vaccine-induced immunity—would likely be the most concerning
     because once a large proportion of the population is vaccinated, there will be immune pressure that could favor and
     accelerate emergence of such variants by selecting for “escape mutants.” There is no evidence that this is occurring, and most
     experts believe escape mutants are unlikely to emerge because of the nature of the virus.


       Analysis of sequences from the African Centre of Excellence for Genomics of Infectious Diseases (ACEGID), Redeemer’s
     [1]

     University, Nigeria, identi ed two SARS-CoV-2 sequences belonging to the B.1.1.207 lineage. These sequences share one non-
     synonymous mutation in the spike protein (P681H) in common with the B.1.1.7 lineage but does not share any of the other 22
     unique mutations of B.1.1.7 lineage. The P681H residue is near the S1/S2 furin cleavage site, a site with high variability in
     coronaviruses. At this time, it is unknown when this variant may have rst emerged. Currently there is no evidence to indicate
     this variant has any impact on disease severity or is contributing to increased transmission of SARS-CoV-2 in Nigeria.

     [2]   “Wild-type” refers to the strain of virus – or background strain – that contains no major mutations.




     Strain Surveillance in the US
     In the United States, sequence-based strain surveillance has been ramping up with the following components:

           ●   National SARS-CoV-2 Strain Surveillance (“NS3”): Since November 2020, state health departments and other public health
               agencies have been regularly sending SARS-CoV-2 samples to CDC for sequencing and further characterization. This
               system is now being scaled to process 750 samples nationally per week. One strength of this system is that it allows for
               characterization of viruses beyond what sequencing alone can provide.


https://www.cdc.gov/coronavirus/2019-ncov/more/science-and-research/scientific-brief-emerging-variants.html                                 3/4
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         ●     Surveillance in partnership with commercial diagnostic laboratories: CDC is contracting with large national reference labs
               to provide sequence data from across the United States. As of mid-January, CDC has commitments from these
               laboratories to sequence 6,000 samples per week and is exploring options to increase this number.
         ●     Contracts with universities: CDC has contracts with seven universities to conduct genomic surveillance in collaboration
               with public health agencies.
         ●     Sequencing within state and local health departments: Since 2014, CDC’s Advanced Molecular Detection Program has
               been integrating next-generation sequencing and bioinformatics capabilities into the US public health system. Several
               state and local health departments have been applying these resources as part of their response to COVID-19. To further
               support these e orts, CDC released $15 million in funding, with COVID supplemental funds, through the Epidemiology
               and Laboratory Capacity Program on December 18, 2020.
         ●     The SPHERES consortium: Since early in the pandemic, CDC has led a national consortium of laboratories sequencing
               SARS-CoV-2 (SPHERES) to coordinate US sequencing e orts outside of CDC. The SPHERES consortium consists of more
               than 160 institutions, including academic centers, industry, non-governmental organizations, and public health agencies.

     Through these e orts, anonymous genomic data are made available through public databases for use by public health
     professionals, researchers, and industry.



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